     Case 24-21542-JKS          Doc 17      Filed 12/10/24 Entered 12/10/24 15:19:08                 Desc Blank
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 24−21542−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   DIA Investment Group LLC
   1401 44ht Street
   North Bergen, NJ 07047
Social Security No.:

Employer's Tax I.D. No.:
  84−3979533

       NEW NOTICE OF MEETING OF CREDITORS WILL BE FORTHCOMING


DISREGARD MEETING OF CREDITORS SENT ON 12/2/2024. NEW NOTICE TO BE FORTHCOMING.




Dated: December 10, 2024
JAN: dmc

                                                                         Jeanne Naughton
                                                                         Clerk
